    Case: 1:14-cv-01748 Document #: 2908 Filed: 11/01/18 Page 1 of 2 PageID #:76372



                          IN THE UNITED STATES DISTRICT
                        COURT FOR THE NORTHERN DISTRICT
                           OF ILLINOIS EASTERN DIVISION


                                    MDL No. 2545
    IN RE: TESTOSTERONE REPLACEMENT
    THERAPY PRODUCTS LIABILITY      Master Docket Case No. 1:14-cv-01748
    LITIGATION
                                    Honorable Matthew F. Kennelly

    THIS DOCUMENT RELATES TO ALL
    CASES

          APPLICATION OF MAURY A. HERMAN SEEKING APPOINTMENT
                 TO THE COMMON BENEFIT FEE COMMITTEE

        Maury A. Herman (“Applicant”) respectfully submits this application to be appointed to

the In re: Testosterone Replacement Therapy Products Liability Litigation (MDL No. 2545)

Common Benefit Fee Committee. In support thereof, Applicant states the following:

        I have been a member of the Plaintiffs’ Executive Committee (“PEC”) since the beginning

of this litigation, and I along with other members of our law firm have been actively involved in

all aspects of the litigation. See CMO 6, [Doc. #255]. Subsequently, I was appointed by lead

counsel as lead of the Auxilium team. In that role, I assembled and managed a team of lawyers

from my firm and other PSC firms to perform document review, analyses, research, depositions

and trial support for the Auxilium trial teams, as well as other trial teams. Notably, Herman

Herman & Katz, L.L.C., paid all of its capital contributions timely in this MDL and advanced

substantial expenses to finance this litigation and for the common benefit.

        Members of my law firm have been active in mass tort and class action litigation for over

25 years and have served on numerous fee committees. Most recently, I personally served on the

fee committee and administrative committee in Gloria Scott, et al. vs. The American Tobacco

Company, et al., No 96-8461 in (the “Scott Litigation”) a class action lawsuit, which resulted in

                                                1 
 
    Case: 1:14-cv-01748 Document #: 2908 Filed: 11/01/18 Page 2 of 2 PageID #:76373



approximately a $279,000,000 dollar judgement affirmed by the Louisiana Supreme Court. Based

on all of the above, I request to be appointed to the Common Benefit Fee Committee in this

litigation.

        Applicant notes the order of this court dated October 15, 2018, Doc. # 2894,  “The PSC is

directed to submit an appropriate draft amended version of CMO 16 for signature by the Court. In

addition, nominations for the Common Benefit Fee Committee are to be made by October 26,

2018.” It is the Applicant’s understanding of this order is that PSC nominations were to be

received by the court by October 26th. I was not nominated by PSC lead counsel.

Dated: November 1, 2018                      Respectfully submitted,

                                             HERMAN HERMAN & KATZ, L.L.C.

                                             /s/ Maury A. Herman
                                             Maury A. Herman, Esq.
                                             Soren E. Gisleson, Esq.
                                             Mikalia M. Kott, Esq.
                                             820 O’Keefe Avenue
                                             New Orleans, LA 70113
                                             Telephone No.: (504) 581-4892
                                             Facsimile No.: (504) 561-6024
                                             Email addresses: mherman@hhklawfirm.com
                                                              sgisleson@hhklawfirm.com
                                                              mkott@hhklawfirm.com




                                                2 
 
